                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

SOVEREIGN IÑUPIAT FOR A LIVING
ARCTIC, et al.,

                   Plaintiffs,

             v.

BUREAU OF LAND MANAGEMENT,
et al.,                                              Case No. 3:23-cv-00058-SLG

                   Defendants.

       and

CONOCOPHILLIPS ALASKA, INC.,
et al.,

                   Intervenor-Defendants.



  ORDER GRANTING MOTION TO EXPEDITE AND DENYING PLAINTIFFS’
           MOTION FOR INJUNCTION PENDING APPEAL

      Before the Court is Plaintiffs’ Motion for Injunction Pending Appeal (Docket

76) and Plaintiffs’ Motion to Expedite Consideration of their Motion for an Injunction

Pending Appeal (Docket 77). Upon due consideration, the motion to expedite at

Docket 77 is GRANTED.




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        “The standard for evaluating an injunction pending appeal is similar to that

employed by district courts in deciding whether to grant a preliminary injunction.”1

Therefore, the Court DENIES the motion for an injunction pending appeal at

Docket 76 for the reasons provided in the Court’s Order Regarding Motions for

Temporary Restraining Order and Preliminary Injunction (Docket 74).

       IT IS SO ORDERED.

       DATED this 4th day of April, 2023 at Anchorage, Alaska.


                                                    /s/ Sharon L. Gleason
                                                    UNITED STATES DISTRICT JUDGE




1
 Feldman v. Arizona Sec’y of State’s Office, 843 F.3d 366, 367 (9th Cir. 2016) (first citing Lopez
v. Heckler, 713 F.2d 1432, 1435 (9th Cir. 1983); and then citing Southeast Alaska Conservation
Council v. U.S. Army Corps of Eng’rs, 472 F.3d 1097, 1100 (9th Cir. 2006)).


Case No. 3:23-cv-00058-SLG, Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al.
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